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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:08CR183
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )            SUPPLEMENTAL
                                               )        MEMORANDUM AND ORDER
RONALD PROKUPEK and                            )         AND FINDINGS OF FACT
CHRISTINE McGLOTHLEN,                          )
                                               )
              Defendants.                      )

       This matter is before the Court on the order from the Eighth Circuit Court of Appeals

for a supplemental order (Filing No. 160), the government's motion to reopen the

suppression hearing (Filing No. 161), and the objections to the government's motion filed

by each of the Defendants (Filing Nos. 162, 163).

                             PROCEDURAL BACKGROUND

       The Defendants Ronald Prokupek and Christine McGlothlen filed motions to

suppress, arguing in part that probable cause did not exist for the stop of their vehicle.

(Filing Nos. 49, 52.) At the suppression hearing, Trooper Estwick testified that, at the time

of the traffic stop, he was in his patrol car on the west side of an off ramp at an exit north

of the Interstate. (Filing No. 63, at 6:4-6; 26:20-25.) Much discussion was had to clarify

whether Prokupek, the driver, failed to signal his exit off the Interstate onto the exit ramp

or, alternatively, his turn from the exit ramp onto the county road. (Id., 27:1-29:18.)

       Magistrate Judge F.A. Gossett issued a report and recommendation recommending

that the motions to suppress filed by the Defendant Ronald Prokupek (Filing No. 52) and

the Defendant, Christine McGlothlen (Filing No. 49), be denied. Judge Gossett found
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Trooper Estwick credible regarding his testimony that he witnessed Prokupek's failure to

signal his northbound turn from the ramp onto the county road. (Filing No. 77, at 26.)

       The Defendants objected to the Report and Recommendation, and this Court

denied the objections and adopted the Report and Recommendation. In its Memorandum

and Order, this Court stated:

              According to the videotape, Trooper Estwick told Prokupek that
       Prokupek signaled his turn onto the highway but did not signal his turn from
       the interstate to the exit ramp. (Ex. 1, 21:27:32.) However, at the hearing,
       Trooper Estwick testified that Prokupek did not signal his turn at the stop sign
       when he turned north onto the highway. (Filing No. 63 (“Tr. 1"), 26:17-18.)
       Both Defendants argue that at least one of these statements is false, and
       because of this discrepancy Trooper Estwick’s testimony is not credible and
       probable cause was lacking to support the traffic stop.
              ....
              . . . [T]he videotape does not show that Prokupek signaled a turn.
       Viewed together with Trooper Estwick’s testimony, the evidence shows that
       at least one of the turns was not signaled and was viewed by Trooper
       Estwick. Therefore, despite this discrepancy, after a careful review of the
       record, the law and the objections, the Court concludes that Prokupek failed
       to stop at one of the two described places, and in that respect Trooper
       Estwick’s testimony is credible. Probable cause supported the traffic stop.
       Therefore, the Defendant’s objections are denied.

(Filing No. 84, at 3-4 (citation omitted).)

       Both Defendants pleaded guilty under conditional plea agreements, reserving the

right to appeal from this Court's order denying their motions to suppress. On direct appeal,

the Eighth Circuit Court of Appeals stated:

       Prokupek and McGlothlen argue that [Trooper Estwick's] testimony is
       contradicted by [his] contemporaneous statement, recorded by the camera
       on his cruiser's dashboard, that “the reason you got pulled over is because
       when you exited the interstate you didn't signal–you didn't signal your exit
       [inaudible]. You signaled your turn, but you didn't signal–exit–signal when
       you were getting on the exit.” However, at the suppression hearing, Trooper
       Estwick testified that from his position in the northwest quadrant of the
       interchange, he could not have observed Prokupek fail to signal the vehicle's
       exit from Interstate 80. Prokupek and McGlothlen therefore maintain that

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        there was no probable cause for the traffic stop because the record cannot
        support the finding of a failure-to-signal violation either as the vehicle exited
        the interstate or as it turned onto the county road.

(Filing No. 160, at 2.)

        The Eighth Circuit noted that this Court, in adopting the magistrate judge's Report

and Recommendation, “did not adopt the finding that the failure to signal occurred when

Prokupek turned the vehicle on to the county road” and “instead found that 'Prokupek failed

to [signal] at one of the two described places.'” (Id., at 3.) The Court remanded this case

for a specific finding of fact as to which of the two places Prokupek failed to signal, stating:

        [T]he Government conceded at oral argument before this Court that probable
        cause could not be based on any failure to signal the vehicle's exit from the
        interstate on to the exit ramp because Trooper Estwick was not in a position
        where he could have observed any failure to signal the exit from the
        interstate. Moreover, the relevant facts regarding whether Prokupek failed
        to signal the vehicle's turn on to the county road are not undisputed,
        especially in light of Trooper Estwick's contemporaneous statement.
        Consequently, the district court's finding that Prokupek failed to signal the
        vehicle's turn “at one of the two described places” is insufficient.

(Id., at 4.)

        Therefore, the Eighth Circuit remanded the case for “further findings on the issue

of probable cause for the traffic stop.” (Id., at 5.)

                REQUEST TO REOPEN THE SUPPRESSION HEARING

        The government requests the opportunity to clarify the matter of Trooper Estwick's

observation of Prokupek's failure to signal on to the county road and the resulting alleged

statutory violation resulting in probable cause for the traffic stop. (Filing No. 161.) The

Defendants argue, however, that Trooper Estwick was thoroughly examined, and the




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government should not be allowed the opportunity to have Trooper Estwick explain the

contradiction in the evidence.

       The Court agrees that Trooper Estwick was questioned extensively with respect to

the matter and concludes that the record is sufficient. Therefore, the Court denies the

request to reopen the record with respect to the suppression hearing.

                                   FACTUAL FINDINGS

       The Court finds Trooper Estwick’s testimony at the suppression hearing to be

credible, and finds that Prokupek failed to signal his turn before turning from the exit ramp

on to the county road.       The Court adopts Magistrate Judge Gossett’s report and

recommendation. The Court reaches these findings after a careful review of the record,

including the testimony of Trooper Estwick and the video of the traffic stop. The Court

acknowledges the apparent discrepancy between Trooper Estwick's testimony and his

statement on the video tape, and concludes that his statement at the time of the traffic stop

was an unintentional misstatement. Because a failure to signal violates Nebraska Revised

Statute § 60-6,161 (2010), probable cause existed for the traffic stop in question. United

States v. Adler, 590 F.3d 581, 583 (8th Cir. 2009) (a minor traffic violation provides probable

cause for a traffic stop).

       IT IS ORDERED:

       1.     The government's motion to reopen the suppression hearing (Filing No. 161)

              is denied;

       2.     The Defendants' objections to the government's motion to reopen the

              suppression hearing (Filing Nos. 162, 163) are granted; and



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     3.    The Clerk is directed to return the record and this supplemental order to the

           Eighth Circuit Court of Appeals for further action.

     DATED this 5th day of January, 2011.

                                              BY THE COURT:


                                              s/Laurie Smith Camp
                                              United States District Judge




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